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 8
 9                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
10
11   JASON DAVIS, individually and on           )     Case No.
     behalf of all others similarly situated,   )
12
                                                )     CLASS ACTION
13   Plaintiff,                                 )
14                                              )     COMPLAINT FOR VIOLATIONS
            vs.                                 )     OF:
15                                              )
16   SEQUIUM ASSET SOLUTIONS,                   )        1.      NEGLIGENT VIOLATIONS
                                                                 OF THE TELEPHONE
     LLC. and DOES 1 through 10,                )                CONSUMER PROTECTION
17
     inclusive,                                 )                ACT [47 U.S.C. §227(b)]
18                                              )        2.      WILLFUL VIOLATIONS
                                                                 OF THE TELEPHONE
19   Defendant.                                 )                CONSUMER PROTECTION
                                                )                ACT [47 U.S.C. §227(b)]
20                                              )
                                                )     DEMAND FOR JURY TRIAL
21
                                                )
22
                                                )
23                                              )
24
                                                )
            Plaintiff JASON DAVIS (“Plaintiff”), individually and on behalf of all
25
     others similarly situated, alleges the following upon information and belief based
26
     upon personal knowledge:
27
28



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 1                                 NATURE OF THE CASE
 2         1.        Plaintiff brings this action individually and on behalf of all others
 3   similarly situated seeking damages and any other available legal or equitable
 4   remedies resulting from the illegal actions of SEQUIUM ASSET SOLUTIONS,
 5   LLC. (“Defendant”), in negligently, knowingly, and/or willfully contacting
 6   Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone Consumer
 7   Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”) and related regulations.
 8
 9                                JURISDICTION & VENUE
10         2.        Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
11   an individual residing in California, seeks relief on behalf of a Class, which will
12   result in at least one class member belonging to a different state than that of
13   Defendant, a Georgia company. Plaintiff also seeks up to $1,500.00 in damages for
14   each call; in violation of the TCPA, which, when aggregated among a proposed
15   class in the thousands, exceeds the $5,000,000.00 threshold for federal court
16   jurisdiction. Therefore, both diversity jurisdiction and the damages threshold under
17   the Class Action Fairness Act of 2005 (“CAFA”) are present, and this Court has
18   jurisdiction.
19         3.        Venue is proper in the United States District Court for the Central
20   District of California pursuant to 28 U.S.C. § 1391(b)(2) because Plaintiff resides
21   within the State of California.
22                                          PARTIES
23         4.        Plaintiff, JASON DAVIS (“Plaintiff”), is a resident of the state of
24   California and is a “person” as defined by 47 U.S.C. § 153 (39).
25         5.        Defendant, SEQUIUM ASSET SOLUTIONS, LLC. INC. is an entity
26   in the debt collection industry and is a “person” as defined by 47 U.S.C. § 153 (39).
27         6.        The above-named Defendant, and their subsidiaries and agents, are
28   collectively referred to as “Defendant.” The true names and capacities of the


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 1   Defendant sued herein as DOE DEFENDANT 1 through 10, inclusive, are
 2   currently unknown to Plaintiff, who therefore sues such Defendant by fictitious
 3   names. Each of the Defendant designated herein as a DOE is legally responsible
 4   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 5   Complaint to reflect the true names and capacities of the DOE Defendant when
 6   such identities become known.
 7         7.     Plaintiff is informed and believes that at all relevant times, each and
 8   every Defendant was acting as an agent and/or employee of each of the other
 9   Defendant and was acting within the course and scope of said agency and/or
10   employment with the full knowledge and consent of each of the other Defendant.
11   Plaintiff is informed and believes that each of the acts and/or omissions complained
12   of herein was made known to, and ratified by, each of the other Defendant.
13
14                              FACTUAL ALLEGATIONS
15         8.     On or around December 2019, Defendant contacted Plaintiff on
16   Plaintiff’s cellular telephone number ending in -5400 in an attempt collect a debt.
17         9.     Defendant used an “automatic telephone dialing system” as defined
18   by 47 U.S.C. § 227(a)(1) to place its calls to Plaintiff seeking to collect a debt.
19         10.    Defendant contacted or attempted to contact Plaintiff from multiple
20   telephone numbers.
21         11.    Defendant’s calls constituted calls that were not for emergency
22   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
23         12.    Defendant’s calls were placed to telephone number assigned to a
24   cellular telephone service for which Plaintiff incurs a charge for incoming calls
25   pursuant to 47 U.S.C. § 227(b)(1).
26         13.    During all relevant times, Defendant did not possess Plaintiff’s “prior
27   express consent” to receive calls using an automatic telephone dialing system or an
28   artificial or prerecorded voice on its cellular telephones pursuant to 47 U.S.C. §


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 1   227(b)(1)(A).
 2         14.    Defendant placed multiple calls seeking to collect a debt from Plaintiff
 3   on its cellular telephone beginning in or around December 2019.
 4         15.    Plaintiff never granted Defendant any prior express consent nor was
 5   any established business relationship with Defendant in existence as defined under
 6   16 C.F.R. 310.4(b)(1)(iii)(B).
 7         16.    Plaintiff was never delinquent on his debt. Moreover, Defendant
 8   continued to call Plaintiff after he revoked consent to be contacted.
 9         17.    Upon information and belief and based on Plaintiff’s experiences of
10   being called by Defendant after requesting they stop calling, and at all relevant
11   times, Defendant failed to establish and implement reasonable practices and
12   procedures to effectively prevent seeking to collect a debt in violation of the
13   regulations prescribed under 47 U.S.C. § 227(c)(5).
14
15                              CLASS ALLEGATIONS
16         18.    Plaintiff brings this action individually and on behalf of all others
17   similarly situated, as a member the ATDS Class.
18         19.    The class concerning the ATDS claim for no prior express consent
19   (hereafter “The ATDS Class”) is defined as follows:
20
                  All persons within the United States who received any
21                solicitation/telemarketing   telephone   calls    from
22                Defendant to said person’s cellular telephone made
                  through the use of any automatic telephone dialing
23
                  system or an artificial or prerecorded voice and such
24                person had not previously consented to receiving such
25
                  calls within the four years prior to the filing of this
                  Complaint
26
27         20.    Plaintiff represents, and are a member of, The ATDS Class, consisting
28   of all persons within the United States who received any collection telephone calls


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 1   from Defendant to said person’s cellular telephone made through the use of any
 2   automatic telephone dialing system or an artificial or prerecorded voice and such
 3   person had not previously not provided their cellular telephone number to
 4   Defendant within the four years prior to the filing of this Complaint.
 5         21.    Defendant its employees and agents are excluded from The Class.
 6   Plaintiff do not know the number of members in The Class, but believes the Class
 7   members number in the thousands, if not more. Thus, this matter should be
 8   certified as a Class Action to assist in the expeditious litigation of the matter.
 9         22.    The Class is so numerous that the individual joinder of all of its
10   members is impractical. While the exact number and identities of The Class
11   members are unknown to Plaintiff at this time and can only be ascertained through
12   appropriate discovery, Plaintiff is informed and believe and thereon allege that The
13   Class includes thousands of members. Plaintiff allege that The Class members may
14   be ascertained by the records maintained by Defendant.
15         23.    Plaintiff and members of The ATDS Class were harmed by the acts
16   of Defendant in at least the following ways: Defendant illegally contacted Plaintiff
17   and ATDS Class members via their cellular telephones thereby causing Plaintiff
18   and ATDS Class members to incur certain charges or reduced telephone time for
19   which Plaintiff and ATDS Class members had previously paid by having to
20   retrieve or administer messages left by Defendant during those illegal calls, and
21   invading the privacy of said Plaintiff and ATDS Class members.
22         24.    Common questions of fact and law exist as to all members of The
23   ATDS Class which predominate over any questions affecting only individual
24   members of The ATDS Class. These common legal and factual questions, which
25   do not vary between ATDS Class members, and which may be determined without
26   reference to the individual circumstances of any ATDS Class members, include,
27   but are not limited to, the following:
28                a.     Whether, within the four years prior to the filing of this


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 1                      Complaint, Defendant made any telemarketing/solicitation call
 2                      (other than a call made for emergency purposes or made with
 3                      the prior express consent of the called party) to a ATDS Class
 4                      member using any automatic telephone dialing system or any
 5                      artificial or prerecorded voice to any telephone number
 6                      assigned to a cellular telephone service;
 7                b.    Whether Plaintiff and the ATDS Class members were damaged
 8                      thereby, and the extent of damages for such violation; and
 9                c.    Whether Defendant should be enjoined from engaging in such
10                      conduct in the future.
11         25.    As a person that received numerous telemarketing/solicitation calls
12   from Defendant using an automatic telephone dialing system or an artificial or
13   prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
14   claims that are typical of The ATDS Class.
15         26.    Plaintiff will fairly and adequately protect the interests of the members
16   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
17   class actions.
18         27.    A class action is superior to other available methods of fair and
19   efficient adjudication of this controversy, since individual litigation of the claims
20   of all Class members is impracticable. Even if every Class member could afford
21   individual litigation, the court system could not. It would be unduly burdensome
22   to the courts in which individual litigation of numerous issues would proceed.
23   Individualized litigation would also present the potential for varying, inconsistent,
24   or contradictory judgments and would magnify the delay and expense to all parties
25   and to the court system resulting from multiple trials of the same complex factual
26   issues. By contrast, the conduct of this action as a class action presents fewer
27   management difficulties, conserves the resources of the parties and of the court
28   system, and protects the rights of each Class member.


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 1         28.    The prosecution of separate actions by individual Class members
 2   would create a risk of adjudications with respect to them that would, as a practical
 3   matter, be dispositive of the interests of the other Class members not parties to such
 4   adjudications or that would substantially impair or impede the ability of such non-
 5   party Class members to protect their interests.
 6         29.    Defendant have acted or refused to act in respect generally applicable
 7   to The Class, thereby making appropriate final and injunctive relief with regard to
 8   the members of the Class as a whole.
 9
10
                               FIRST CAUSE OF ACTION

11
            Negligent Violations of the Telephone Consumer Protection Act

12
                                     47 U.S.C. §227(b).

13
           30.    Plaintiff repeats and incorporates by reference into this cause of action

14
     the allegations set forth in the paragraphs above.

15
           31.    The foregoing acts and omissions of Defendant constitute numerous

16
     and multiple negligent violations of the TCPA, including but not limited to each

17
     and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular

18
     47 U.S.C. § 227 (b)(1)(A).

19
           32.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),

20
     Plaintiff and the Class Members are entitled an award of $500.00 in statutory

21
     damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

22
           33.    Plaintiff and the ATDS Class are also entitled to and seek injunctive

23
     relief prohibiting such conduct in the future.

24
25
     ///

26
27
28



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 1                           SECOND CAUSE OF ACTION
 2    Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                           Act
 4                                   47 U.S.C. §227(b)
 5                             On Behalf of the ATDS Class
 6         34.    Plaintiff repeats and incorporates by reference into this cause of action
 7   the allegations set forth in the paragraphs above.
 8         35.    The foregoing acts and omissions of Defendant constitute numerous
 9   and multiple knowing and/or willful violations of the TCPA, including but not
10   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
11   and in particular 47 U.S.C. § 227 (b)(1)(A).
12         36.    As a result of Defendant’s knowing and/or willful violations of 47
13   U.S.C. § 227(b), Plaintiff and the ATDS Class are entitled an award of $1,500.00
14   in statutory damages, for each and every violation, pursuant to 47 U.S.C. §
15   227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
16         37.    Plaintiff and the Class members are also entitled to and seek injunctive
17   relief prohibiting such conduct in the future.
18
19                                PRAYER FOR RELIEF
20    WHEREFORE, Plaintiff requests judgment against Defendant for the following:
21
22                             FIRST CAUSE OF ACTION
23          Negligent Violations of the Telephone Consumer Protection Act
24                                   47 U.S.C. §227(b)
25               • As a result of Defendant’s negligent violations of 47 U.S.C.
26                §227(b)(1), Plaintiff and the ATDS Class members are entitled to and
27                request $500 in statutory damages, for each and every violation,
28                pursuant to 47 U.S.C. 227(b)(3)(B).


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 1               • Any and all other relief that the Court deems just and proper.
 2
 3                           SECOND CAUSE OF ACTION
 4    Knowing and/or Willful Violations of the Telephone Consumer Protection
 5                                            Act
 6                                    47 U.S.C. §227(b)
 7               • As a result of Defendant’s willful and/or knowing violations of 47
 8                U.S.C. §227(b)(1), Plaintiff and the ATDS Class members are
 9                entitled to and request treble damages, as provided by statute, up to
10                $1,500, for each and every violation, pursuant to 47 U.S.C.
11                §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
12               • Any and all other relief that the Court deems just and proper.
13
14                                    JURY DEMAND
15         38.    Pursuant to the Seventh Amendment to the Constitution of the United
16   States of America, Plaintiff is entitled to, and demands, a trial by jury.
17
           Respectfully submitted this 6th day of July, 2020.
18
19
                                LAW OFFICES OF TODD M. FRIEDMAN, P.C.
20
21                                     By: /s/ Todd M. Friedman
                                           Todd M. Friedman
22
                                           Law Offices of Todd M. Friedman
23                                         Attorney for Plaintiff
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28



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